


  PER CURIAM.
 

  The petition is granted and Sylvester Hicks is hereby afforded belated appeal from judgment and sentence of the Circuit Court for Escambia County, Case No. 2010-CF-000619A. Upon issuance of mandate in this cause, a copy of the opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal.
  
   See
  
  Fla. R.App. P. 9.141(c)(6)(D).
 

  The trial court shall appoint counsel to represent appellant if he qualifies for such an appointment.
 

  PETITION GRANTED.
 

  THOMAS, WETHERELL, and SWANSON, JJ„ concur.
 
